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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                             MDL No. 2741
LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC (AGT)


This document relates to:                           DISCOVERY ORDER

Hayes v. Monsanto Co., 21-cv-00965-VC               Re: MDL Dkt. No. 20697

                                                    Related Case Dkt. No. 52


       1. Red River withdrew its general objections to plaintiffs’ first set of interrogatories

and requests for production. See Dkt. 52 at 3. Plaintiffs’ challenge to those general objections

is thus moot. If Red River hasn’t done so already, by June 11, 2025, it must amend its responses

to remove the withdrawn objections.

       2. Red River insists that it doesn’t have documents responsive to plaintiffs’ requests

for production. See Dkt. 52 at 3. Red River’s Director of Finance, Jessica Sandifer, “personally

participated in the collection of material and information in response to [the] discovery

requests,” and provided plaintiffs with a declaration addressing the scope and results of the

search. Dkt. 52-3, Sandifer Decl. ¶ 4. On the current record, the Court has no reason to doubt

Red River’s representations and cannot compel a production of documents that don’t exist.

       3. During discovery, Red River created and provided plaintiffs with a PDF list of “all

of [Red River’s] sales to Sheffield Utilities from 2000 to present.” Dkt. 52 at 4. Plaintiffs later


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  asked Red River to produce the list in its original electronic format. Red River refused.

         The Court orders Red River to produce the list in its original electronic form by June

  11, 2025. Red River edited the original version of the list before sharing it with plaintiffs. See

  Sandifer Decl. ¶ 6. Red River maintains that it edited the list only to remove irrelevant data,

  but the Court will allow plaintiffs to confirm.

       IT IS SO ORDERED.

Dated: June 6, 2025


                                                             ALEX G. TSE
                                                             United States Magistrate Judge




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